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                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS-EASTERN DIVISION

 HHT, LLC,

                            Plaintiff,
                                                        No. 23-cv-4083
                       v.
                                                        Hon. Judge Jeffrey I. Cummings
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A”,

                            Defendants.

                            PLAINTIFF’S NOTICE OF DISMISSAL
                                OF CERTAIN DEFENDANTS

       Plaintiff HHT, LLC, pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure,

hereby dismisses all causes of action against the following defendant(s) listed on Exhibit 1 to this

Notice (“Settling Defendant(s)”), with prejudice. Plaintiff is dismissing Settling Defendants

because it has reached a full settlement with them, the terms of which have been satisfied.

       Settling Defendants have filed neither an answer to the complaint nor a motion for

summary judgment as to these claims. Dismissal under Rule 41(a)(1) is therefore appropriate.

                                                     Respectfully submitted,

 DATED: March 25, 2024                               HHT, LLC

                                                     By: /s/ James E. Judge

                                                     Zareefa B. Flener (IL Bar No. 6281397)
                                                     James E. Judge (IL Bar No. 6243206)
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